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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 12-62333-Civ-SCOLA

  JACQUELINE ZENON,

         Plaintiff,
  vs.

  COLLECTION RESULTS, INC.,

       Defendant.
  _____________________________________/

                                     ORDER OF DISMISSAL

         THIS CASE has been dismissed with prejudice pursuant to Federal Rule of Civil

  Procedure 41(a)(1)(A)(ii).    (Joint Stip. For Dismissal, ECF No. 22).    The Court reserves

  jurisdiction to enforce the parties’ settlement agreement. The Clerk shall CLOSE this case. All

  pending motions, if any, are DENIED as moot.

         DONE and ORDERED in chambers, at Miami, Florida on August 2, 2013.


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                                                     ROBERT N. SCOLA, JR.
                                                     UNITED STATES DISTRICT JUDGE
